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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

                                              CASE No.:
MICHELLE STRICKLAND,

      Plaintiff,
vs.

VANDALL OF DAYTONA,
INC., d/b/a TIR NA NOG IRISH PUB

     Defendants.
__________________________________/

                                  COMPLAINT


      Plaintiff, MICHELLE STRICKLAND (hereinafter the “Plaintiff”), through

undersigned counsel, hereby files this Complaint and sues VANDALL OF

DAYTONA, INC., a Florida Corporation, d/b/a TIR NA NOG IRISH PUB

(hereinafter, the “Defendant”), for injunctive relief, attorney’s fees and costs

(including, but not limited to, court costs and expert fees), pursuant to 42 U.S.C.

§12181, et. seq., (“AMERICANS WITH DISABILITIES ACT” or “ADA”) and

alleges:

                        JURISDICTION AND PARTIES

      1.     This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181, et. seq., (hereinafter
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referred to as the “ADA”). This Court is vested with jurisdiction under 28 U.S.C.

§1331 and §343.

       2.       Venue is proper in this Court, Middle District pursuant to 28 U.S.C.

§1391(B) in that all events giving rise to this lawsuit occurred in Volusia County,

Florida.

       3.       At the time of Plaintiff’s visit to Defendant’s Subject Facilities, prior to

instituting the instant action, MICHELLE STRICKLAND (hereinafter referred to as

“STRICKLAND”), was a resident of the State of Florida, suffered from what

constitutes a “qualified disability” under the Americans with Disabilities Act of

1990, and used a wheelchair for mobility. Plaintiff has cerebral palsy. Since

childhood, she has been required to traverse in a wheelchair, and is substantially

limited to performing one or more major life activities including, but not limited to,

walking, standing, grabbing, grasping, and/or pinching.

       4.       The Plaintiff personally visited, in or about November 14, 2021,

Defendant’s Subject Facilities, but was denied full and equal access to, and full and

equal enjoyment of, the facilities services, goods, privileges and accommodations

offered within Defendant’s Subject Facilities, which is the subject of this lawsuit,

even though she would be classified as a “bona fide patron”, because of her

disabilities.    Plaintiff lives in Volusia County, Florida, in close proximity to




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Defendant, (within 6.4 miles) and travels in the surrounding areas near Defendant’s

Subject Facilities on a regular basis.

      5.     The Defendant, VANDALL OF DAYTONA, INC., a Florida

Corporation, d/b/a TIR NA NOG IRISH PUB, is authorized to conduct and is

conducting business within the State of Florida.

      6.     Upon information and belief, VANDALL OF DAYTONA, INC., is the

lessee and/or operator of the real property (the “Subject Facility”), and the owner of

the improvements where the Subject Facility is located which is the subject of this

action, the establishment commonly referred to as TIR NA NOG IRISH PUB,

located at 612 E. International Speedway Blvd, Daytona Beach, Florida.

      7.     Upon information and belief, VANDALL OF DAYTONA, INC., is the

lessor, operator and/or owner of the real property (the “Subject Facility”), and the

owner of the improvements where the Subject Facilities are located which are the

subjects of this action.

      8.     All events giving rise to this lawsuit occurred in the State of Florida.

Venue is proper in this Court as the premises are located in Volusia County in the

Middle District, Orlando Division.

              COUNT I – VIOLATIONS OF THE AMERICANS WITH

                               DISABILITIES ACT




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      9.    On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101, et. seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of the Title III of the ADA was January 26, 1992.

42 U.S.C. §12181; 20 C.F.R. §36.508(a).

      10.   Congress found, among other things, that:

            (i)     some 43,000,000 Americans have one or more physical or
                    mental disabilities, and this number shall increase as the
                    population continues to grow older;

            (ii)    historically, society has tended to isolate and segregate
                    individuals with disabilities, and, despite some improvements,
                    such forms of discrimination against disabled individuals
                    continue to be a pervasive social problem, requiring serious
                    attention;

            (iii)   discrimination against disabled individuals persists in such
                    critical    areas     as     employment,       housing,     public
                    accommodations, transportation, communication, recreation,
                    institutionalization, health services, voting and access to public
                    services and public facilities;

            (iv)    individuals with disabilities continually suffer forms of
                    discrimination, including outright intentional exclusion, the
                    discriminatory effects of architectural, transportation, and
                    communication barriers, failure to make modifications to
                    existing facilities and practices. Exclusionary qualification
                    standards and criteria, segregation, and regulation to lesser
                    services, programs, benefits, or other opportunities; and,

            (v)     the continuing existence of unfair and unnecessary
                    discrimination and prejudice denies people with disabilities the
                    opportunity to compete on an equal basis and to pursue those
                    opportunities for which our country is justifiably famous and
                    costs the United States billions of dollars in unnecessary
                    expenses resulting from dependency and non-productivity.

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      42 U.S.C. §12101(a)(1)-(3), (5) and (9).
      11.    Congress explicitly stated that the purpose of the ADA was to:

             (i)     provide a clear and comprehensive national mandate for the
                     elimination of discrimination against individuals with disabilities;
             (ii)    provide clear, strong, consistent, enforceable standards addressing
                     discrimination against individuals with disabilities; and,

             (iii)   invoke the sweep of congressional authority, including the power to
                     enforce the fourteenth amendment and to regulate commerce, in
                     order to address the major areas of discrimination faced day-to-day
                     by people with disabilities.

      42 U.S.C. §12101(b)(1)(2), and (4).

      12.    Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, Defendant is

a place, of public accommodation in that they are an establishment which provide

goods and services to the public.

      13.    Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building

and/or Subject Facility which is the subject of this action is a public accommodation

covered by the ADA and which must be in compliance therewith.

      14.    The Plaintiff is informed and believes, and therefore alleges, that the

Subject Facility has begun operations and/or undergone remodeling, repairs and/or

alterations since January 26, 1990.

      15.    Defendant has discriminated, and continue to discriminate, against the

Plaintiff, and others who are similarly situated, by denying full and equal access to,

and full and equal enjoyment of, goods, services, facilities, privileges, advantages

and/or accommodations at Defendant’s Subject Facilities in derogation of 42 U.S.C.
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§12101, et. seq., and as prohibited by 42 U.S.C. §12182 et. seq., and by failing to

remove architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such

removal is readily achievable.

      16.    The Plaintiff has been unable to, and continues to be unable to, enjoy

full and equal safe access to, and the benefits of, all accommodations and services

offered at Defendant’s Subject Facilities. Prior to the filing of this lawsuit, the

Plaintiff visited the subject properties and was denied full and safe access to all the

benefits, accommodations and services of the Defendant. Prior to the filing of this

lawsuit, STRICKLAND, personally visited VANDALL OF DAYTONA, INC., a

Florida Corporation, d/b/a TIR NA NOG IRISH PUB with the intention of using

Defendant’s facilities but was denied full and safe access to the facilities, and

therefore suffered an injury in fact. As stated herein, the Plaintiff has visited the

Subject Facilities in the past, prior to the filing of this lawsuit, resides near said

Subject Facility, and Plaintiff intends to return to the Subject Facility and Property

within six months, or sooner, upon the Subject Facility being made accessible. As

such, Plaintiff is likely to be subjected to continuing discrimination at the Subject

Facility unless it is made readily accessible to and usable by individuals with

disabilities to the extent required under the ADA, including the removal of the

architectural barrier which remain at the Subject Facility.




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       17.      Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA, known as the Americans

with Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R.

Part 36, under which said Department may obtain civil penalties of up to $110,000

for the first violation and $150,000 for any subsequent violation.

       18.      The Defendant’s Subject Facilities are in violation of 42 U.S.C. §12182

et. seq., the ADA and 28 C.F.R. §36.302 et. seq., and is discriminating against the

Plaintiff, as a result of interalia, the following specific violations:

       VIOLATIONS

             a) Failure to provide ADA compliant directional and informational

                signage leading to accessible parking, in violation of 2017 FAC, 2014

                FAC and 2010 ADAS Section 208.

             b) Failure to provide accessible route of travel from the public way to

                building entrance, in violation of 2017 FAC, 2014 FAC and 2010

                ADAS Section 206.

             c) Failure to provide passenger drop-off and loading area, in violation of

                2017 FAC, 2014 FAC and 2010 ADAS Section 503.1.




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   d) Failure to provide accessible route leading to the building entrance with

      compliant slope grading, in violation of 2017 FAC, 2014 FAC and 2010

      ADAS Section 403.

   e) Failure to provide ADA compliant accessible route with compliant

      slope grading, between public way and building, in violation 2017

      FAC, 2014 FAC and 2010 ADAS Section 403.3.

   f) Failure to provide ADA compliant entrance door landing, in violation

      2017 FAC, 2014 FAC and 2010 ADAS Section 404.2.4.1.

   g) Failure to provide ADA compliant entrance door approach pull

      clearance, in violation 2017 FAC, 2014 FAC and 2010 ADAS Section

      404.2.4.1.

   h) Failure to provide ADA compliant entrance door hardware, in violation

      2017 FAC, 2014 FAC and 2010 ADAS Section 309.4.

   i) Failure to provide ADA compliant number of interior table seating, in

      violation 2017 FAC, 2014 FAC and 2010 ADAS Section 227.3.

   j) Failure to provide ADA compliant interior table clearances, in violation

      2017 FAC, 2014 FAC and 2010 ADAS Section 306.1.

   k) Failure to provide ADA compliant interior aisle width clearances, in

      violation 2017 FAC, 2014 FAC and 2010 ADAS Section 403.5.1.




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   l) Failure to provide ADA compliant bar counter height, in violation 2017

      FAC, 2014 FAC and 2010 ADAS Section 904.4.1 and 904.4.2.

   m) Failure to provide ADA compliant bar counter clear floor space, in

      violation 2017 FAC, 2014 FAC and 2010 ADAS Section 904.4.1.

   n) Failure to provide ADA compliant transaction counter height, in

      violation 2017 FAC, 2014 FAC and 2010 ADAS Section 904.4.1 and

      904.4.2.

   o) Failure to provide ADA compliant transaction counter clear floor space,

      in violation 2017 FAC, 2014 FAC and 2010 ADAS Section 904.4.1.

   p) Failure to provide ADA compliant clear floor space throughout the

      subject facility, in violation 2017 FAC, 2014 FAC and 2010 ADAS

      Section 403.5.1.

   q) Failure to provide ADA compliant directional signage to accessible

      restroom, in violation 2017 FAC, 2014 FAC and 2010 ADAS Section

      216.8.

   r) Failure to provide ADA compliant restroom signage, in violation 2017

      FAC, 2014 FAC and 2010 ADAS Section 216.8.

   s) Failure to provide ADA compliant restroom door hardware (knob), in

      violation 2017 FAC, 2014 FAC and 2010 ADAS Section 309.




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    t) Failure to provide ADA compliant restroom door hardware locking

       mechanism, in violation 2017 FAC, 2014 FAC and 2010 ADAS

       Section 309.

    u) Failure to provide ADA compliant maneuverability clearance between

       restroom doors, in violation 2017 FAC, 2014 FAC and 2010 ADAS

       Section 404.2.6.

    v) Failure to provide ADA compliant restroom door width clearance, in

       violation 2017 FAC, 2014 FAC and 2010 ADAS Section 404.2.3.

    w) Failure to provide ADA compliant lavatory underside clearance, in

       violation 2017 FAC, 2014 FAC and 2010 ADAS Section 306.3.1.

    x) Failure to provide ADA compliant mirror, in violation 2017 FAC, 2014

       FAC and 2010 ADAS Section 603.3.

    y) Failure to provide ADA compliant paper towel dispenser, in violation

       2017 FAC, 2014 FAC and 2010 ADAS Section 308.2.1.

    z) Failure to provide ADA compliant soap dispenser height, in violation

       2017 FAC, 2014 FAC and 2010 ADAS Section 308.2.1.

    aa) Failure to provide ADA compliant stall door swing floor clearance, in

       violation 2017 FAC, 2014 FAC and 2010 ADAS Section 604.8.1.1 and

       604.8.1.2.




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         bb) Failure to provide ADA compliant flushing mechanism, in violation

               2017 FAC, 2014 FAC and 2010 ADAS Section 604.6.

            a) Failure to provide ADA compliant side grab bar, in violation 2017

               FAC, 2014 FAC and 2010 ADAS Section 609.4.

            b) Failure to provide ADA compliant rear grab bar, in violation 2017 FAC,

               2014 FAC and 2010 ADAS Section 609.4.

            c) Failure to provide ADA compliant toilet paper dispenser location, in

               violation 2017 FAC, 2014 FAC and 2010 ADAS Section 604.7.

            d) Failure to provide ADA compliant, unobstructed, restroom circulation,

               due, in part, to protruding shelf over the water closet, in violation 2017

               FAC, 2014 FAC and 2010 ADAS Section 307.2.

            e) Failure to provide ADA compliant restroom maneuverability clear floor

               space, in violation 2017 FAC, 2014 FAC and 2010 ADAS Section

               603.2.1.

      19.      Upon information and belief, there are other current violations of the

ADA at Defendant’s Properties, and only once a full inspection is done can all said

violations be identified.

      20.      To date, the readily achievable barriers and other violations of the ADA

still exist and have not been remedied or altered in such a way as to effectuate

compliance with the provisions of the ADA. The barriers to access at the Subject


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Facilities, as described above, have severely diminished Plaintiff’s ability to avail

herself of the goods and services offered at the Subject Facilities, and compromise

her safety.

       21.    Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304,

the Defendants were required to make the Subject Facility, a place of public

accommodation, accessible to persons with disabilities since January 28, 1992. To

date, the Defendant has failed to comply with this mandate.

       22.    The Plaintiff has been obligated to retain the undersigned counsel for

the filing and prosecution of this action. The Plaintiff is entitled to have her

reasonable attorney’s fees, costs and expenses paid by the Defendant, pursuant to 42

U.S.C. §12205.

       23.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

grant the Plaintiff’s injunctive relief; including an order to alter the subject facilities

to make them readily accessible to, and useable by, individuals with disabilities to

the extent required by the ADA and closing the subject facility until the requisite

modifications are completed.

       WHEREFORE, the Plaintiff hereby demands judgment against the Defendant

and the Court declare that the subject property and Subject Facilities owned,

operated, leased, controlled and/or administered by the Defendant is are violative of

the ADA;


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 A.    The Court enter an Order requiring the Defendant to alter their facilities

       and amenities to make them accessible to and usable by individuals

       with disabilities to the full extent required by Title III of the ADA;

 B.    The Court enter an Order directing the Defendant to evaluate and

       neutralize their policies, practices and procedures toward persons with

       disabilities, for such reasonable time so as to allow the Defendant to

       undertake and complete corrective procedures to the Subject Facility;

 C.    The Court award reasonable attorney’s fees, all costs (including, but not

       limited to court costs and expert fees) and other expenses of suit, to the

       Plaintiff; and

 D.    The Court award such other and further relief as it deems necessary,

       just and proper.

 Dated: This 31st day of December 2021.

                                         Respectfully submitted,

                                         By: /S/Joe M. Quick, Esq.
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